            2:08-cr-20010-JES-JEH # 82      Page 1 of 4                                           E-FILED
                                                                    Friday, 01 February, 2019 01:39:46 PM
                                                                             Clerk, U.S. District Court, ILCD
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  AT PEORIA


                                           )
UNITED STATES OF AMERICA,                  )
                                           )              No. 08 CR 20010
                                           )
                v.                         )              Hon. James E. Shadid
                                           )
JAMELLE CARRAWAY                           )



  JOINT STATEMENT CONCERNING DEFENDANT JAMELLE CARAWAY’S
         REQUEST FOR A REDUCED SENTENCE PURSUANT TO
               SECTION 404 OF THE FIRST STEP ACT

       Defendant JAMELLE CARAWAY, by his attorney, MIANGEL CODY, and the

UNITED STATES OF AMERICA, by its attorney PATRICK HANSEN, submit this joint

statement for a sentence reduction pursuant to Section 404 of the First Step Act. The parties

agree that the Court should reduce Mr. Carraway’s sentence to a within-guidelines

sentence of 140 months’ imprisonment (time served). We further state as follows:

       1.       On February 26, 2008, Jamelle Caraway was indicted for knowingly possessing

with the intent to distribute more than 50 grams of cocaine base (crack). Doc. No. 12. The

precise drug amount involved was 139.1 grams of cocaine base. PSR at ¶ 8. The government

filed a three-strikes enhancement pursuant to 21 U.S.C. § 851, which required the Court to

sentence Defendant Caraway to a mandatory life sentence upon conviction. Doc. No. 16.

       2.       On June 1, 2009, the court conducted a bench trial and found Defendant

Caraway guilty of Count 1 of the Indictment. Doc. No. 56. At Carraway’s October 6, 2009

sentencing, Judge McCuskey imposed a statutory life sentence. Doc. 60.

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       3.       Section 404 of the FIRST STEP Act of 2018 independently authorizes a

district court to impose a reduced sentence for crack-cocaine convictions where the statutory

penalty provisions of the Fair Sentencing Act would have applied had the Act been in effect

at the time of the original sentencing.

       4.       The parties agree that the 2010 Fair Sentencing Act’s reduced penalty structure

would have applied to Mr. Carraway’s crack offense had that Act been in effect during his

2009 sentencing. Accordingly, this Court is authorized to impose a reduced sentence under

Section 404. Thus, the parties agree that Mr. Caraway is eligible for a sentence reduction

pursuant to Section 404 of the First Step Act.

       5.       Under the 2018 Guidelines Manual, Mr. Carraway’s current guideline

calculations are as follows: U.S.S.G. § 2D1.1(c)(7) prescribes a base offense level of 26 for

1391.1 grams of cocaine base. Carraway continues to receive an additional two-level role

adjustment, resulting in a total offense level of 28. Mr. Carraway’s criminal history category is

VI. His current guideline range is 140 to 175 months’ imprisonment.

       6.       The parties agree the Court should reduce Mr. Carraway’s sentence to 140

months’ imprisonment (time served). The parties requested sentence is within the applicable

2018 guideline range, and it is “sufficient, but not greater than necessary” pursuant to the

Sentencing Reform Act of 1984, 18 U.S.C. Sec. 3553(a). Mr. Carraway has been in custody

since February 4, 2008. He has served approximately 132 months of actual custody. With

good-time credit, Mr. Carraway has credit for approximately 150 months’ incarceration.

       7.       Given Mr. Carraway’s life sentence, the Court did not impose a term of

supervised release in its original judgment. The parties agree that an 8-year mandatory term

of supervision applies and should be imposed as to Count 1.

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Based on the facts set forth above, the parties agree the Court should:

       A. Issue a Writ of Habeas Corpus ad Prosequendum to FCI Oxford where Defendant

          Carraway is presently incarcerated. Mr. Carraway’s BOP Register Number is

          14837-026.

       B. Schedule a telephonic hearing as soon as Mr. Carraway can be made available to

          reduce his sentence to a total term of 140 months’ imprisonment (time served) as

          to Count 1 of the Indictment. On February 1, 2019, undersigned defense cousel

          spoke to the BOP’s Sentence Computation Center in Grand Prairie Texas, who

          advised a sentence of 140 months’ imprisonment would render Mr. Carraway due

          for immediate release.

       C. The Court should order that, prior to the telephonic hearing, Mr. Carraway shall

          provide the U.S. probation office with the address where he will reside.

       D. Impose an 8 year term of supervised release as to Count 1 of the Indictment. In

          consultation with the U.S. probation office, the parties shall propose conditions of

          supervised release at the telephonic hearing.

       E. In all other respects, the Judgment entered on October 6, 2009 should remain in

          full force and effect.

Respectfully submitted,

JOHN C. MILHISER                                          JAMELLE CARRAWAY
UNITED STATES ATTORNEY                                    DEFENDANT

BY: /s/ Patrick D. Hansen                                 BY: /s/ MiAngel Cody
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                               CERTIFICATE OF SERVICE


The undersigned, MiAngel Cody, an attorney with The Decarceration Collective hereby
certifies that on February 1, 2019, I electronically filed the following with the Clerk of the
Court using the CM/ECF system:


 JOINT STATEMENT CONCERNING DEFENDANT JAMELLE CARRAWAY’S
         REQUEST FOR A REDUCED SENTENCE PURSUANT TO
                 SECTION 404 OF THE FIRST STEP


                                                                       /s/ MiAngel Cody
                                                                      MIANGEL CODY

                                            THE DECARCERATION COLLECTIVE
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                                                     900 W. Jackson Blvd. Suite 7E
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                                                              Attorney for Jamelle Carraway




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